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                                                    THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                         CASE NO. CR20-0174-JCC
10                          Plaintiff,                  MINUTE ORDER
11           v.

12    ERIC SHIBLEY,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          On November 1, 2021, the Government and Defendant each filed motions in limine,
18   noted for November 12, 2021, and November 5, 2021, respectively. (Dkt. Nos. 86, 89.) To
19   ensure that both motions are briefed simultaneously, it is hereby ORDERED that (1) Defendant’s
20   motion in limine (Dkt. No. 89) is RENOTED for November 12, 2021; and (2) any response to
21   either motion must be filed no later than November 8, 2021.
22          DATED this 2nd day of November 2021.
                                                          Ravi Subramanian
23
                                                          Clerk of Court
24
                                                          s/Sandra Rawski
25                                                        Deputy Clerk

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     MINUTE ORDER
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